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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              NEWNAN DIVISION

SHARON PHILLIPS,                                 )
                                                 )
                        Plaintiff,               )
                                                 )
                                                      CIVIL ACTION NO.
v.                                               )
                                                      3:16-CV-134-TCB
                                                 )
FCA US LLC,                                      )
                                                 )
                        Defendant.               )

        JOINT MOTION TO STAY CASE AND COMPEL ARBITRATION
          COME NOW plaintiff Sharon Phillips ("Plaintiff") and defendant Santander

Consumer USA Inc. d/b/a Chrysler Capital ("Defendant"), improperly named as

FCA US LLC, by and through their undersigned counsel, and hereby move to stay

this case and compel Plaintiff's claims to arbitration. In support thereof, the parties

state as follows:

          1.      Plaintiff initiated this action by filing a Complaint on August 31,

2016. (Doc. 1.)

          2.      Defendant filed an Answer to the Complaint on October 6, 2016.

(Doc. 6.) In Defendant's First Affirmative Defense, Defendant stated, "To the

extent that Plaintiff has entered into an arbitration agreement that covers any of her




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claims against Defendant, Defendant reserves the right to compel arbitration and

does not waive that right by filing this Answer." (Doc. 6 at 9.)

          3.      Defendant has since located a copy of an arbitration agreement signed

by Plaintiff, and Plaintiff has agreed to arbitrate her claims in this case under said

agreement.

          4.      Accordingly, the parties jointly move to stay this action and compel

Plaintiff's claims to arbitration.

          WHEREFORE, premises considered, the parties respectfully request the

Court to stay this action and compel this matter to arbitration.

          Respectfully submitted this 18th day of October, 2016,

                                           /s/ Octavio Gomez
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                          CERTIFICATION OF COUNSEL
          I hereby certify that the foregoing pleading has been prepared with Times

New Roman, 14 point font, one of the font and point selections approved by the

Court in LR 5.1C.


                                         s/ Rachel R. Friedman
                                         Rachel R. Friedman
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                            CERTIFICATE OF SERVICE
       I hereby certify that on October 18th, 2016, I presented the foregoing motion
to the Clerk of Court for filing and uploading to the CM/ECF system, which will
automatically send email notification of such filing to the following parties:

                                    Octavio Gomez
                               Morgan & Morgan, Tampa
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                                   Tampa, FL 33602
                                    (813) 223-5505
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     I hereby certify that I have mailed by United States Postal Service the
document to the following non-CM/ECF participants:

                                        NONE



                                         s/ Rachel R. Friedman
                                         Rachel R. Friedman
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